Case 4:22-md-03047-YGR   Document 423-1   Filed 11/09/23   Page 1 of 10




              Exhibit 1
              Case 4:22-md-03047-YGR           Document 423-1         Filed 11/09/23      Page 2 of 10



                                                      LAW OFFICES
                                      COTCHETT, PITRE & McCARTHY, LLP
LOS ANGELES                                 SAN FRANCISCO AIRPORT OFFICE CENTER
SEATTLE                                              840 MALCOLM ROAD
NEW YORK                                       BURLINGAME, CALIFORNIA 94010
                                                  TELEPHONE (650) 697-6000
                                                      FAX (650) 697-0577
                                                        cpmlegal.com


                                                 November 9, 2023

        Honorable Yvonne Gonzalez Rogers, U.S. District Judge
        United Stated District Court for the Northern District of California
        Oakland Courthouse
        1301 Clay Street
        Oakland, CA 94612

        Re:     In Re Social Media Adolescent Addiction et al., Case No. 4:22-md-03047-YGR
                Representation for School Districts and Municipalities

        Dear Judge Gonzalez Rogers:

                 Our firm, Cotchett, Pitre & McCarthy LLP (“CPM”), respectfully seeks appointment to a
        leadership position in the matter of In Re Social Media Adolescent Addiction/Personal Injury
        Products Liability Litigation, Case No. 4:22-md-03047-YGR (N.D. Cal.) on the Plaintiffs’
        Steering Committee, specifically to a leadership position in connection with the School District
        and Municipality tracks of this MDL. Plaintiff leadership needs members whose attention is
        solely focused on school districts and government entities. CPM has a long history of
        representing government entities in public nuisance litigation. Accordingly, our firm has asked
        that, I, Anne Marie Murphy, be selected to serve on leadership.

                 Section 230 will undoubtedly impact individual personal injury Plaintiffs differently from
        government entity Plaintiffs and thus lead to potential conflicts in litigation strategy. Further,
        while there will be some anticipated overlap among experts – the tracks will require unique
        expertise. This litigation needs leaders who can zealously represent the interests of school
        districts, while working side-by-side with plaintiffs in other tracks. Co-Lead Counsel recognized
        this necessity when they suggested appointing me and five others to a Government Entity
        Subcommittee in June of 2023. See Dkt. 309. CPM represents numerous California school
        district Plaintiffs and does not and will not represent any individual personal injury Plaintiff in
        this matter.

               In addition to representing only government entities in this litigation, our firm is only
        seeking a leadership position in this MDL and not in the companion JCCP. Consequently, I will
        have the requisite time to devote to this litigation and will not be distracted by trying to lead in
        the JCCP as well as in this MDL.

               This letter provides the court with the information requested regarding the seven criteria
        outlined in your Order Setting Initial Conference. (Dkt. 2).
    Case 4:22-md-03047-YGR            Document 423-1         Filed 11/09/23      Page 3 of 10




                                                                                 November 9, 2023
                                                                                          Page 2

   (1) Professional experience in this type of litigation, including MDL experience as lead
       or liaison counsel and/or service on any plaintiffs’ committees or subcommittees.

         My resume highlights my relevant professional experience. (Attachment 2) It includes a
chart listing prior MDL and complex litigation experience, service as lead counsel and on
leadership committees, and identifies the judges in those matters. I recognize that there are others
in leadership who have more than my twenty-three years of litigation experience and/or have
served in overlapping leadership roles with others in leadership; however, I believe that diversity
of experience is critical in MDL leadership. I believe that MDL leaders have an obligation to
carry out their assignments efficiently and effectively, and this includes keeping those who are
not selected to a leadership position adequately informed so that they in turn can properly
represent their own clients.

   (2) The names and contact information of Judges before whom the applicant has
       appeared in the matters discussed in response to No. 1 above.

       This information is also provided in my resume. See Attachment 2.

    (3) Willingness and ability immediately to commit to time-consuming litigation.
        I am able and willing to immediately commit to time-consuming litigation. As my
representation as Co-Lead in Robinhood comes to a close, I have the temporal capacity to
commit to this litigation. CPM has multiple cases pending in this MDL, with several more
planned for filing, making us deeply invested in the litigation. Further CPM is headquartered in
the Bay Area (Burlingame) making participation in hearings and meetings relatively easy.
Additionally, as noted above, I am not serving, or attempting to serve, on any leadership in the
accompanying JCCP. This will allow me to focus completely on the MDL and provide first-rate
service to this litigation.

   (4) Willingness and ability to work cooperatively with other plaintiffs’ counsel and
       defense counsel.

        I know and respect many of the previously appointed leadership. While it is critical to
have some independent voices on leadership (who do not represent plaintiffs in more than one
track), CPM is committed to working cooperatively with the other firms in leadership roles,
while fiercely representing the interests of public entities. Before being recommended to a
leadership role in June 2023 [Dkt 309] CPM was already working cooperatively with other firms
representing school districts – and this work has continued to the present. I and my firm have
been tasked with and have completed common benefit work at the request of the PSC.

        I have repeatedly demonstrated my ability to work cooperatively with other counsel
throughout my career. This is demonstrated by my years of service on the Board of the
Consumer Attorneys of California, including as Chair of its Women’s Caucus and several years
on its Executive Committee, my years as a Commissioner on the California Commission on
Access to Justice, as President of the Board of a respected legal aid organization, and my
appointment to the Advisory Board of Berkeley Law’s Civil Justice Research Initiative.
    Case 4:22-md-03047-YGR            Document 423-1         Filed 11/09/23      Page 4 of 10




                                                                                 November 9, 2023
                                                                                          Page 3

   (5) Access to resources to prosecute the litigation in a timely manner.

         CPM is a nationally recognized litigation firm with ample experience, knowledge,
and skill in complex multi-district litigation, ranging from consumer mass torts to securities
and antitrust litigation. The National Law Journal has routinely placed CPM on its national
list recognizing CPM as a law firm on the cutting edge of litigation. Given CPM' s
substantial experience in complex litigation, including multi-district litigation and class
actions, CPM is intimately aware of the resources required to litigate a case of this
magnitude. CPM is committed to expending the time, energy, and finances in an efficient
manner for a just result. We regularly serve in leadership roles where we are expected to
contribute many millions of dollars, without resort to the services of litigation funders.

        CPM’s resources available to competently prosecute the litigation in a timely manner
include the institutional knowledge and human capital necessary for such an undertaking.
Beyond my own experience, various partners at CPM have served on executive committees for
numerous significant matters including many involving large technology companies like the
ones in this litigation. A small sample includes: Delahunty v. Google, USDC NDCA (Hon.
Lucy Koh), In Re Apple Inc. Device Performance Litigation, USDC NDCA (Hon. Edward J.
Davila), In re Google Play Consumer Antitrust Litigation, USDC NDCA (Hon. James
Donato), Yick v. Bank of America, N.A. USDC NDCA & SDCA (Previously Hon. Vince
Chhabria and currently Hon. Larry Burns). As we display on our website, CPM is a law firm
built on a foundation of deeply held principles and commitment. CPM’s shared values are a
commitment to justice, hard work and a promise to deliver true rights to our clients and a just
society. Appointing me to Leadership in this litigation is an appointment of the experience,
collaborative spirit and history of proven results of the entire firm to this matter. I am blessed
by the counsel of my partners and, while individuals are being selected for leadership, standing
behind me and supporting me are some of the leading trial attorneys in the Nation.

   (6) Willingness to serve as lead counsel, a member of a steering committee, or both.

       I am willing to serve however the Court may see fit.

   (7) Any other considerations that qualify counsel for a leadership position.

       This MDL is pending in the Northern District. CPM is a local firm with deep roots in the
Bay. The majority of CPM’s government entity clients are located in the Northern District, but
we represent clients throughout the State.

                                      Respectfully Submitted,



                                 ANNE MARIE MURPHY
Enclosures
Attachment 1 – List of filed cases
Attachment 2 – Resume
Case 4:22-md-03047-YGR   Document 423-1   Filed 11/09/23   Page 5 of 10




              Attachment 1
  Case 4:22-md-03047-YGR         Document 423-1    Filed 11/09/23   Page 6 of 10




                              Attachment 1
      CPM Cases on file in IN RE: SOCIAL MEDIA ADOLESCENT
  ADDICTION/PERSONAL INJURY PRODUCTS LIABILITY LIGATION
                    CASE No. 4:22-md-03047-YRR


             Entity:                                   Case No.:
    San Mateo County Board of                     4:23-cv-01108-YGR
            Education

Bayshore Elementary School District                 3:23-cv-01555

Jefferson Union High School District                3:23-cv-01554

South San Francisco Unified School                  3:23-cv-01557
             District

Jefferson Elementary School District                3:23-cv-02215

  Cabrillo Unified School District                  3:23-cv-02406

      Pacifica School District                      3:23-cv-03657
Case 4:22-md-03047-YGR   Document 423-1   Filed 11/09/23   Page 7 of 10




              Attachment 2
           Case 4:22-md-03047-YGR            Document 423-1         Filed 11/09/23       Page 8 of 10




                                           Attachment 2 – Resume
                                            Anne Marie Murphy

                                 COTCHETT, PITRE & McCARTHY, LLP
                                       840 Malcolm Road, Suite 200
                                          Burlingame, CA 94010
                                   (650) 697-6000 – (650) 697-0577 (fax)
                                     Email: amurphy@cpmlegal.com

                               EDUCATION                                                  ADMISSIONS
B.A., in Science & Technology, Vassar College                                        •    U.S. Supreme Court
J.D., Georgetown University Law Center                                               •    Ninth Circuit Court of
                                                                                          Appeals
                       PROFESSIONAL ACTIVITIES                                       •    California Bar
   •   Commissioner, California Commission on Access to Justice, 2010-               •    Numerous federal courts
       2023
   •   Advisory Board, Civil Justice Research Institute, University of               HONORS & AWARDS
       California-Berkeley Law                                                       • Top 50 Women Lawyers,
   •   Executive Committee-Board of Directors, Consumer Attorneys of                   Northern California
       California                                                                      Super Lawyers, 2016-
   •   President of Board, California Advocates for Nursing Home Reform                present
       (CANHR is a legal aid non-profit)                                             • Top 100 Lawyers,
   •   Chair, Consumer Attorneys of California Women’s Caucus, 2014                    Northern California
   •   Fellow, Litigation Counsel of America                                           Super Lawyers, 2016-
                                                                                       present
   •   Advisory Board, Seven Tepees Youth Program
                                                                                     • Top 100 Women
                     EXPERIENCE & ACHIEVEMENTS                                         Lawyers in California,
                                                                                       awarded by The Daily
   •   In re Robinhood Outages Litigation, USDC NDCA (Hon. James
                                                                                       Journal, 2015
       Donato). Individually appointed as Co-Lead Counsel. Responsible for
       overseeing all aspects of the litigation—from fact and expert                 • Top 25 Plaintiff
       discovery, to mediation, to overseeing the PEC. Case successfully               Attorneys in California,
       concluded with settlement distribution to certified class in 2023.              awarded by The Daily
                                                                                       Journal, 2015
   •   Richter et al. v. CC-Palo Alto, Inc. et al., USDC NDCA (Hon.
       Edward J. Davila). Lead counsel for Plaintiffs. Class certification           • Finalist, Consumer
       2021. Subsequent settlement and final approval in 2022.                         Attorney of the Year,
                                                                                       awarded by the
   •   Pennington et al. v. Tetra Tech, Inc. et. al., USDC NDCA (Hon.
                                                                                       Consumer Attorneys of
       James Donato). Serve as lead counsel with Joseph Cotchett in class
                                                                                       California, 2008
       action for homeowners of the San Francisco Shipyards development.
                                                                                     • Presidential Award of
       There are numerous related cases, all involving the fraudulent nuclear          Merit, awarded by
       remediation of a former Navy base. Played key role in brokering an              Consumer Attorneys of
       early multi-million-dollar settlement of a portion of the case. As to the       California, 2011- 2012,
       remaining portion of case, work cooperatively with a large number of            2015, 2018, 2020-2023
       plaintiff and defense firms to streamline and steer the litigation.           • Northern California
   •   County of San Mateo v. Purdue Pharma, L.P. et al. consolidated in               Rising Star, Northern
       In re National Opiate Litigation, USDC NDOH (MDL 2804, Hon.                     California Super
       Dan A. Polster). Co-lead for SMC. Involved for several years in
        Case 4:22-md-03047-YGR             Document 423-1        Filed 11/09/23       Page 9 of 10




    working group for California counties, which grappled with issues                  Lawyers and San
    such as intrastate allocation.                                                     Francisco Magazine,
•   Martin v. HPHC, USDC CDCA (Hon. Dale S. Fischer). Lead                             2009-2012
    attorney in one of the earliest Covid-19 nursing home death cases.            •    Irish Legal 100, 2017-
    Prevailed at Ninth Circuit on issues of first impression related to                present
    federal jurisdiction and immunities (co-argued to the Ninth Circuit           •    Lawdragon 500 Leading
    with counsel from Public Citizen, who represented plaintiffs in a                  Plaintiff Financial
    separate case).                                                                    Lawyers, 2020-present
•   A.M. and L.S. v. Pacific Fertility Center et al., SF Superior Court
    and B.B.S v. Pacific Fertility Center et al., SF Superior Court
    (Hon. Teri L. Jackson presided for most of case). Recently
    completed service as part of state leadership group (with attorneys
    from Lieff Cabraser Heimann & Bernstein and Walkup, Melodia,
    Kelly & Schoenberger). CPM represented women affected by the
    tragic failure of a storage tank at Pacific Fertility Clinic in San
    Francisco which resulted in the loss of thousands of eggs and
    embryos.
•   Epstein et al. v. Schwarzenegger et al., San Francisco Superior
    Court (Hon. Charlene P. Kiesselbach). Along with my senior
    partner, Joseph W. Cotchett, represented taxpayers against the
    Schwarzenegger Administration to stop the sale of California’s public
    buildings, which would have cost California’s taxpayers billions of
    dollars. Successful in obtaining an emergency temporary stay of the
    sale from the Court of Appeal. Sale was successfully cancelled when
    Governor Brown took office.

                    PUBLICATIONS & TEACHING
•   Every year I teach at seminars on trial skills topics, discovery as well
    as diverse practice areas. I am also co-chair of CAOC’s annual
    Convention and its Sonoma Seminar. I am on the Editorial Board of
    CAOC’s Forum Magazine.
•   Forum Magazine’s (CAOC) 2022 Civil Rights Issue (Issue Editor);
•   “Everything we do is About Civil Rights," The Forum Magazine
    (CAOC) July/August 2022;
•   “Charles Bonner interview: Tip of the Arrow,” The Forum Magazine
    (CAOC) July/August 2022;
•   “Financial Elder Abuse: Holding Institutions Liable for Aiding and
    Abetting Abuse,” The Forum Magazine, 2019
•   “Same Road, Different Stops” (Elder Abuse Litigation), San Mateo
    County Bar Association, 2013
•   “Upcoming Changes to the Federal Rules of Civil Procedure,”
    Plaintiff Magazine, 2015
  Case 4:22-md-03047-YGR          Document 423-1        Filed 11/09/23    Page 10 of 10




 Judge’s Name and Contact                 Court                   Case Name and Number
              Info
James Donato                   United States District Court   In re Robinhood Outages
San Francisco Courthouse,      for the Northern District of   Litigation - 3:20-cv-01626
Courtroom 11, 19th Floor       California
450 Golden Gate Avenue,                                       Pennington et al. v. Tetra Tech,
San Francisco, CA 94102                                       Inc. et. al. - 3:18-cv-05330
415-522-2066
Edward J. Davila               United States District Court   Richter et al. v. CC-Palo Alto, Inc.
San Jose Courthouse,           for the Northern District of   et al. - 5:14-cv-00750
Courtroom 4—5th Floor          California
280 South 1st Street, San
Jose, CA 95113
408-535-5356
Dan A. Polster                 United States District Court   County of San Mateo v. McKesson
Carl B. Stokes United States   for the Northern District of   Corp. et al. and County of San
Court House                    Ohio                           Mateo v. Purdue Pharma, L.P. et
801 West Superior Avenue,                                     al - 3:19-cv-00949
Courtroom 18B
Cleveland, Ohio 44113-1837
Dale S. Fischer                United States District Court   Emma Martin et al v. Serrano
First Street Courthouse, 350   for the Central District of    Post Acute, LLC, et al - 2:20-cv-
West 1st Street, Courtroom     California                     05937
7D, Los Angeles, California
213-894-0583
Curtis E. A. Karnow            San Francisco Superior Court   A.M. and L.S. v. Pacific Fertility
Department 611                                                Center et al. – CGC-18-567247
Civic Center Courthouse
400 McAllister St.
San Francisco, CA 94102
United States
415-796-6280
Teri L. Jackson                San Francisco Superior Court   B.B.S v. Pacific Fertility Center et
Division Five                                                 al. - CGC-19-574223
350 McAllister Street
San Francisco, CA 94102-
7421
415-865-7300
Charlene P. Kiesselbach        San Francisco Superior Court   Epstein et al. v. Schwarzenegger
[retired]                                                     et al. - CGC-10-505436
